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                           Michael and Susan Torres
                              Hatboro PA 19040



12-22-24


The Honorable Judge Cooper:


We’ve known James Douglass Rahm III, (or JD to us) his entire life. We’ve come to
know a caring and kind young man in JD who has always been honest and helpful.
He spent numerous visits and vacations with our family over the years, in fact our
daughters think of him as a little brother.

We were saddened to hear of his involvement on January 6, 2021 at the Capitol
Building.

It actually shocked us, as we’ve never known him to mention any political interest.
We can only assume he went along with his friends as young people are oft to do.
We know he regrets that trip greatly.

We hope you will consider this young man’s future when it comes time for
sentencing. He has so much good to contribute to the community and it would be
horrible to curtail his potential.

Thank you in advance for your consideration in JD’s future.


Sincerely,

Michael and Susan Torres
